Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 1 of 23 PageID: 1146




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



   ANDY KIM, in his personal capacity as a
   candidate for U.S. Senate, et al.,

         Plaintiffs,

   v.                                                Case No. 3:24-cv-01098

   CHRISTINE GIORDANO HANLON, in her
   official capacity as Monmouth County Clerk, et
   al.,
          Defendants.




    BRIEF OF AMICUS CURIAE THE AMERICAN CIVIL LIBERTIES
  UNION OF NEW JERSEY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                  PRELIMINARY INJUNCTION

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Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 2 of 23 PageID: 1147




                                          TABLE OF CONTENTS

  TABLE OF AUTHORITIES .................................................................................... ii

  INTEREST OF AMICUS CURIAE............................................................................1

  SUMMARY OF ARGUMENT .................................................................................2

  ARGUMENT .............................................................................................................4

  I. Primary elections in New Jersey are not administered neutrally .........................4

  II. The state is constitutionally prohibited from regulating electoral
      competition with its thumb on the scale. ..............................................................8

           A. County clerks in New Jersey, through primary ballot design
              procedures, violate the neutrality principle and unconstitutionally
              engage in viewpoint-based discrimination. ..............................................10

           B. County clerks in New Jersey, through primary ballot design
              procedures, violate the neutrality principle and unconstitutionally
              burden the right to vote.............................................................................14

  CONCLUSION ........................................................................................................18




                                                             i
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 3 of 23 PageID: 1148




                                         TABLE OF AUTHORITIES
  CASES
  ACLU of N.J. v. Grewal, No. 3:19-cv-17807 (D.N.J. Mar. 11, 2020)....................... 1
  Anderson v. Celebrezze, 460 U.S. 780 (1983) ............................................... 9-10, 15
  Burdick v. Takushi, 504 U.S. 428 (1992)...........................................................14, 15
  Burson v. Freeman, 504 U.S. 191 (1992) .................................................................. 9
  Cal. Democratic Party v. Jones, 530 U.S. 567 (2000) .............................................. 8
  Cnty. of Ocean v. Grewal, 475 F. Supp. 3d 355 (D.N.J. 2020), aff’d sub nom.
        Ocean Cnty. Bd. of Comm’rs v. Att’y Gen. of State of N.J., 8 F.4th 176 (3d
        Cir. 2021) .........................................................................................................2
  Cook v. Gralike, 531 U.S. 510 (2001) ...............................................................11, 12
  Correa v. Grossi, 458 N.J. Super. 571 (App. Div. 2019) .......................................... 1
  Council of Alt. Pol. Parties v. Hooks, 179 F.3d 64 (3d Cir. 1999) ............................ 4
  Crawford v. Marion Cnty. Election Bd., 553 U.S. 181 (2008) ................................14
  Eu v. S.F. Cnty. Democratic Cent. Comm., 489 U.S. 214 (1989) ............................. 9
  Gould v. Grubb, 14 Cal. 3d 661 (1975) .............................................................15, 16
  Holland v. Rosen, 277 F. Supp. 3d 707 (D.N.J. 2017), aff’d, 895 F.3d 272 (3d Cir.
        2018) ................................................................................................................2
  Hunter v. Erickson, 393 U.S. 385 (1969) ...................................................... 10
  Illinois Bd. of Elections v. Socialist Workers Party, 440 U.S. 173 (1979) ...... 14
  Islamic Soc’y of Basking Ridge v. Twp. of Bernards, 226 F. Supp. 3d 320 (D.N.J.
        2016) ................................................................................................................2
  Matal v. Tam, 582 U.S. 218 (2017) .........................................................................11
  McCutcheon v. Fed. Election Comm’n, 572 U.S. 185 (2014) .............................9, 17
  N.Y. State Bd. of Elections v. Lopez Torres, 552 U.S. 196 (2008) ............................. 9
  Norman v. Reed, 502 U.S. 279 (1992) .....................................................................15
  Reed v. Town of Gilbert, Ariz., 576 U.S. 155 (2015) ...............................................10


                                                               ii
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 4 of 23 PageID: 1149




  Reynolds v. Sims, 377 U.S. 533 (1964) ....................................................................15
  Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819 (1995) .................. 10
  Save Camden Pub. Sch. v. Camden City Bd. of Educ., 454 N.J. Super. 478 (App.
        Div. 2018) ........................................................................................................1
  Sorrell v. IMS Health Inc., 564 U.S. 552 (2011).............................................. 9
  State v. DeAngelo, 197 N.J. 478 (2009) .......................................................... 1
  Tashjian v. Republican Party of Conn., 479 U.S. 208 (1986) ................................... 9
  Timmons v. Twin Cities Area New Party, 520 U.S. 351 (1997) ..............................14
  W.J.A. v. D.A., 210 N.J. 229 (2012) ................................................................ 1
  Williams v. Rhodes, 393 U.S. 23 (1968) .......................................................... 8
  CONSTITUTIONS
  U.S. Const. art. I, § 4, cl. 1 ............................................................................. 9
  STATUTES
  N.J.S.A. 19:1-1 ...........................................................................................................4
  N.J.S.A. 19:5-3 ...........................................................................................................5
  N.J.S.A. 19:23-17 .......................................................................................................5
  N.J.S.A. 19:23-18 .......................................................................................................5
  N.J.S.A. 19:23-24 .......................................................................................................6
  N.J.S.A. 19:23-26.1 ....................................................................................................6
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        New Jersey, 72 Rutgers U. L. Rev. 629 (2020) .......................................4, 5, 7




                                                              iii
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 5 of 23 PageID: 1150




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         Election Outcomes, Politics, and Policy, 48 Seton Hall J. Legis. & Pub.
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        4 (2023) ..........................................................................................................17
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       Election Ballots in New Jersey, 48 Seton Hall J. Legis. & Pub. Pol’y 24
       (2023) ...............................................................................................................7




                                                              iv
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 6 of 23 PageID: 1151




                         INTEREST OF AMICUS CURIAE
        The American Civil Liberties Union (ACLU) is a nationwide, nonprofit,

  nonpartisan organization dedicated to the principles embodied in the United States

  Constitution and our nation’s civil rights laws. The American Civil Liberties Union

  of New Jersey (ACLU-NJ) is a state affiliate of the ACLU whose mission is to

  preserve, advance, and extend the individual rights and liberties guaranteed to every

  New Jerseyan. Founded in 1960 and based in Newark, the ACLU-NJ operates on

  several fronts–legal, political, cultural–to bring about systemic change and build a

  more equitable society.

        As further documented in the certification in support of its motion to file an

  amicus curiae brief, the ACLU-NJ has participated in a wide variety of cases,

  directly representing parties or in an amicus curiae capacity, involving election law

  and voting rights issues. See, e.g., Correa v. Grossi, 458 N.J. Super. 571 (App.

  Div. 2019); Save Camden Pub. Sch. v. Camden City Bd. of Educ., 454 N.J. Super.

  478 (App. Div. 2018). The ACLU-NJ is also a frequent litigant and friend of the

  court in cases involving free speech. See, e.g., ACLU of N.J. v. Grewal, No. 3:19-

  cv-17807 (D.N.J. Mar. 11, 2020); W.J.A. v. D.A., 210 N.J. 229 (2012); State v.

  DeAngelo, 197 N.J. 478 (2009).

        The ACLU-NJ has a track record of helping to inform the resolution of cases

  before this Court as amicus curiae. For example, the Court’s published opinion in



                                           1
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 7 of 23 PageID: 1152




  County of Ocean v. Grewal includes several references to the ACLU-NJ’s amicus

  brief and the issues elucidated therein. 475 F. Supp. 3d 355, 363 n. 5, 365 n. 6, 381

  (D.N.J. 2020), aff’d sub nom. Ocean Cnty. Bd. of Comm’rs v. Att’y Gen. of State of

  N.J., 8 F.4th 176 (3d Cir. 2021); see also Holland v. Rosen, 277 F. Supp. 3d 707,

  724 (D.N.J. 2017), aff’d, 895 F.3d 272 (3d Cir. 2018); Islamic Soc’y of Basking

  Ridge v. Twp. of Bernards, 226 F. Supp. 3d 320, 340 (D.N.J. 2016).

        As a nonpartisan advocacy organization, the ACLU-NJ is exclusively

  concerned with the constitutional issues presented in this matter and does not

  endorse or oppose any candidate for elected office. The special interest and

  expertise of the ACLU-NJ in these areas of constitutional law are substantial.


                            SUMMARY OF ARGUMENT
        The state has an obligation to serve as a neutral referee in administering

  elections. The integrity of self-government depends on it. But in New Jersey, the

  state steps outside this role. A unique feature of New Jersey’s primary ballots

  known as the “county line” upsets the competitive mechanisms of the electoral

  process. Through the county line, the government manipulates election outcomes

  by giving preferential treatment to candidates who have won the endorsement of

  county committees of state-recognized political parties. In so doing, the

  government engages in viewpoint discrimination and undermines every primary

  voter’s right to cast a free and effective ballot. The county line is unconstitutional.


                                             2
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 8 of 23 PageID: 1153




        The ballot box, no less than the town square, is a site of public debate and

  ideological competition. Government neutrality in the regulation of these fora is

  essential to a fair and functioning marketplace of ideas, which is the cornerstone of

  the First Amendment and the foundation of democracy. When the government

  fixes the marketplace rules to influence the results of political contests, it distorts

  the democratic process.

        Voters express their political will by selecting candidates. In New Jersey, the

  state, through primary ballot design procedures, boosts the electoral prospects of

  some candidates and hinders the prospects of others. It thereby privileges the

  viewpoints of some voters and devalues the viewpoints of others. Indeed, the

  county line subjects all voters to the state’s improper ideological coercion, in

  glaring violation of the First Amendment.

        The state commits another constitutional offense when it fails to observe

  political neutrality in election administration: it severely burdens the right to vote.

  Free choice is the essence of the franchise right. But when county clerks in New

  Jersey organize primary ballots around the county line, they undercut that freedom

  and, to a substantial extent, predetermine voters’ selections. They also abridge the

  right to vote by siphoning power away from voters and into the hands of the county

  committees of political parties. The ballot is meaningful because it a mandate and a

  mechanism of political accountability. New Jersey’s primary ballot structure


                                              3
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 9 of 23 PageID: 1154




  teaches candidates to court county party leaders instead of constituents. As a result,

  voters wield diminished authority.

           County clerks in New Jersey, through primary ballot design procedures,

  debase voters’ rights to assert their independent political preferences and exercise

  power at the polls. The Court should preliminarily enjoin the use of these

  unconstitutional procedures.1


                                       ARGUMENT
      I.      Primary elections in New Jersey are not administered neutrally.
           The “county line” is a feature of New Jersey’s primary elections that allows

  county committees of political parties to grant a slate of candidates a uniquely

  powerful form of endorsement. 2 County clerks transmute that endorsement into

  ballot advantages that are nearly impossible for challengers to overcome. No other

  state conducts its primary elections in this way. Brett M. Pugach, The County Line:



  1
    Amicus curiae confines its brief to a discussion of the legal merits in this case and
  does not take a position on factual disputes regarding the feasibility of
  implementing ballot design changes ahead of the June 2024 primaries or on other
  elements of the preliminary injunction standard.
  2
    While many organizations may consider themselves political parties, for the
  purposes of New Jersey’s administration of elections, the definition of “political
  party” is limited to those that garner at least 10% of the total votes cast in regular
  elections for the General Assembly. N.J.S.A. 19:1-1. Only Democrats and
  Republicans have met the statutory threshold since it was enacted. See, e.g.,
  Council of Alt. Pol. Parties v. Hooks, 179 F.3d 64, 68 (3d Cir. 1999) (“At present,
  the only recognized political parties in New Jersey are the Democratic and
  Republican parties.”).

                                             4
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 10 of 23 PageID: 1155




  The Law and Politics of Ballot Positioning in New Jersey, 72 Rutgers U. L. Rev.

  629, 631 (2020).

        The county line works as follows: By law, candidates who file a joint

  petition and “choose the same designation or slogan” for the primary election have

  their names “drawn for position on the ballot as a unit,” and “shall have their

  names placed on the same line” of the ballot by the county clerks. N.J.S.A 19:49-2;

  see also N.J.S.A. 19:23-18. Candidates thus become “bracketed.” The county

  committee of a political party, N.J.S.A. 19:5-3, is empowered to endorse favored

  candidates. “The slogan used by county committee-endorsed candidates is often

  owned by a corporation” controlled by party insiders, which, in accordance with

  New Jersey’s slogan consent restrictions,3 extends “permission for the slogan’s use

  to the slate of candidates endorsed by the county committee.” Pugach, supra, at

  654. Thus, county committees may ensure that a handpicked set of candidates

  appear together as a group under the same slogan on primary ballots—a formation

  known as the county line.4 Earning or failing to earn a place on the county line is

  frequently the most decisive factor in a primary candidate’s campaign.


  3
    New Jersey law requires those who wish to use a ballot slogan containing the
  name of another person or an incorporated association to receive the written
  consent of that person or entity. N.J.S.A. 19:23-17.
  4
    County line primary ballots are used in nineteen of New Jersey’s twenty-one
  counties. Julia Sass Rubin, The Impact of New Jersey’s County Line Primary
  Ballots on Election Outcomes, Politics, and Policy, 48 Seton Hall J. Legis. & Pub.


                                            5
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 11 of 23 PageID: 1156




        Once petitions are filed and the bracketing deadline passes, the county clerks

  choose a specific office as the “pivot point.” The pivot point is the first column (or,

  less commonly, row, depending on the ballot design) on the primary ballot. When

  a primary ballot includes candidates for U.S. Senate, that office is treated as the

  pivot point; if the ballot includes gubernatorial candidates and no U.S. Senate

  candidates, the governorship is treated as the pivot point office. See N.J.S.A.

  19:23-26.1. Otherwise, county clerks have discretion to select a pivot point, and do

  so with varied and unpredictable results. County clerks then draw by lottery all

  pivot point candidates’ names and place them on the ballot in the order drawn.

  N.J.S.A. 19:23-24. This is known as the “preferential ballot draw.” Once pivot

  point candidates are placed on the ballot in the preferential ballot draw, all

  candidates who are bracketed with the pivot point candidates are placed in the

  same column or row—i.e., on the line. Thereafter, unbracketed candidates are

  arrayed on the ballot according to a series of non-preferential ballot draws. Unless

  competing for a “pivot point” office, unbracketed candidates never have a chance

  to appear in first position on the ballot.




  Pol’y 48, 49 (2023). Everywhere else around the country, primary ballots are
  organized by electoral position; most states list candidates beneath the position
  they are seeking, while a few list candidates to the right of the position. Id. These
  ballot structures make it relatively intuitive for voters to identify which candidates
  are running for which electoral position and to select their preferred candidates. Id.

                                               6
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 12 of 23 PageID: 1157




        Why is the county line so influential? First, simply appearing in a group with

  other candidates produces a cognitive bias described as the “weight of the line.”

  The “weight of the line” encourages straight-ticket voting for the grouped

  (“bracketed”) candidates. See Samuel S.-H. Wang, Three Tests for Bias Arising

  from the Design of Primary Election Ballots in New Jersey, 48 Seton Hall J. Legis.

  & Pub. Pol’y 24, 38 (2023). What’s more, the county line will often feature high-

  profile candidates running for the highest offices at the top of the ballot. Voters are

  much more likely to vote down the line for all candidates who are associated with

  the recognized names at the top of the ballot than they are to vote for a candidate

  on a different line. Pugach, supra, at 655.

        Second, New Jersey allows bracketed candidates to participate in the

  preferential ballot draw, which means that they receive more prominent ballot

  positioning. Id. at 658. Thus, while party-backed candidates typically get placed on

  the first row or column, unbracketed candidates are often relegated to “ballot

  Siberia.” Alexander J. Law, The Restoration of Anti-Corruption as a Constitutional

  Principle, 14 Alb. Gov’t L. Rev. 144, 174 (2021).

        Evidence of the line’s influence is overwhelming. Researchers have

  examined races in which a candidate appears on the line in some counties and off

  the line in others. There were forty-five such instances between 2002 and 2022.

  Rubin, supra, at 58. “The average margin in performance for those forty-five


                                             7
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 13 of 23 PageID: 1158




  candidates between being on the county line and having their opponent on the

  county line was thirty-eight percentage points.” Id. Being on the line confers a

  stronger advantage than incumbency. Id. at 60. In other words, even strong name

  recognition does not appear to counter the impact of the line. When a candidate

  runs with both the power of incumbency and the line, the candidate is essentially

  invulnerable to challenge; since 2009, no incumbent on the line in all counties in

  their district has lost a primary. Id. at 57.

  II.    The state is constitutionally prohibited from regulating electoral
         competition with its thumb on the scale.
         Just as the First Amendment requires the government to remain neutral when

  it regulates the competition of ideas in public fora, so too does it demand that the

  government act neutrally in administering the ideological competition of elections.

  After all, “[c]ompetition in ideas and governmental policies is at the core of our

  electoral process and of the First Amendment freedoms.” Williams v. Rhodes, 393

  U.S. 23, 32 (1968). The democratic process retains legitimacy only insofar as

  elections reflect the will of voters, and not of the state. See Cal. Democratic Party

  v. Jones, 530 U.S. 567, 590 (2000) (Kennedy, J. concurring) (“In a free society the

  State is directed by political doctrine, not the other way around.”).

         The state, therefore, must make itself ideologically invisible in this process,

  or else taint the electoral proving ground and constrain individual political

  expression and agency. “The First Amendment is designed and intended to remove


                                                  8
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 14 of 23 PageID: 1159




  governmental restraints from the arena of public discussion . . . in the belief that no

  other approach would comport with the premise of individual dignity and choice

  upon which our political system rests.” McCutcheon v. Fed. Election Comm’n, 572

  U.S. 185, 203 (2014) (internal quotation marks omitted). In this way, “[t]he First

  Amendment creates an open marketplace where ideas, most especially political

  ideas, may compete without government interference.” N.Y. State Bd. of Elections

  v. Lopez Torres, 552 U.S. 196, 208 (2008). This open marketplace is instrumental

  to free elections, “[f]or speech concerning public affairs is more than self-

  expression; it is the essence of self-government,” Burson v. Freeman, 504 U.S.

  191, 196 (1992) (internal quotation marks omitted). “Without such a marketplace,

  the public could not freely choose a government pledged to implement policies that

  reflect the people’s informed will.” Sorrell v. IMS Health Inc., 564 U.S. 552, 583

  (2011).

        The state’s power to regulate the time, place, and manner of elections under

  the Elections Clause, U.S. Const. art. I, § 4, cl. 1, “does not extinguish the State’s

  responsibility to observe the limits established by the First Amendment rights of

  the State’s citizens.” Eu v. S.F. Cnty. Democratic Cent. Comm., 489 U.S. 214, 222

  (1989) (quoting Tashjian v. Republican Party of Conn., 479 U.S. 208, 217 (1986)).

  The government, therefore, may impose only “evenhanded restrictions that protect

  the integrity and reliability of the electoral process itself.” Anderson v.


                                             9
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 15 of 23 PageID: 1160




  Celebrezze, 460 U.S. 780, 788, n. 9 (1983) (emphasis added). These regulations

  must be structured with “the aim of providing a just framework within which the

  diverse political groups in our society may fairly compete . . . ,” Hunter v.

  Erickson, 393 U.S. 385, 393 (1969) (Harlan, J., concurring).

        A. County clerks in New Jersey, through primary ballot design
           procedures, violate the neutrality principle and unconstitutionally
           engage in viewpoint-based discrimination.
        The county line operates as a form of viewpoint discrimination—the most

  “egregious” variety of First Amendment violation. Rosenberger v. Rector &

  Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). Through the county line, county

  clerks in New Jersey embed favored viewpoints in primary ballots. Distorting and

  disabling competition among electoral candidates in this way is at odds with the

  proper role of government in administering elections and with foundational tenets

  of First Amendment law.

        Viewpoint discrimination occurs when the government “targets not subject

  matter, but particular views taken by speakers on a subject.” Id. Regulations that

  elevate the viewpoints of certain speakers over others are subject to strict scrutiny

  and presumptively unconstitutional. See Reed v. Town of Gilbert, Ariz., 576 U.S.

  155, 164 (2015); Rosenberger, 515 U.S. at 829-830.

        The state’s obligation to observe viewpoint neutrality applies—indeed, is at

  its pinnacle—when designing and disseminating ballots. Ballots function as



                                            10
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 16 of 23 PageID: 1161




  instruments of public debate in the political marketplace of ideas. When the

  government designs ballots that advantage some candidates and disadvantage

  others, it warps the marketplace. See Matal v. Tam, 582 U.S. 218, 249 (2017)

  (Kennedy, J., concurring) (reasoning that “[t]he First Amendment’s viewpoint

  neutrality principle . . . . protects the right to create and present arguments for

  particular positions in particular ways, as the speaker chooses” and that violating

  the neutrality principle can “distort the marketplace of ideas.”). This distortion

  injures not only disadvantaged candidates, but all voters, who are constitutionally

  entitled to participate in the democratic process free from the government’s

  ideological coercion.

        In Cook v. Gralike, for example, the Supreme Court held unconstitutional

  Article VIII of the Missouri Constitution, which required that labels be placed on

  the ballot next to the names of certain candidates who had failed to take legislative

  action to support congressional term limits or failed to take a pledge committing to

  such action. 531 U.S. 510, 514-15, 526-27 (2001). The ballot labels read:

  “DISREGARDED VOTERS’ INSTRUCTION ON TERM LIMITS” or

  “DECLINED TO PLEDGE TO SUPPORT TERM LIMITS,” respectively. Id. at

  514-15. The majority opinion confined its analysis to the Elections Clause,

  determining that the Article VIII ballot labels were not an authorized form of

  election regulation thereunder. Id. at 525-26. But in concurrence, Justice


                                             11
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 17 of 23 PageID: 1162




  Rehnquist, joined by Justice O’Connor, offered another reason to invalidate them:

  Article VIII “discriminates on the basis of viewpoint.” Id. at 531-32 (Rehnquist, J.,

  concurring). Only candidates who did not conform to the state’s policy preferences

  received “derogatory” ballot treatment. Id. at 532.

               The result is that the State injects itself into the election
               process at an absolutely critical point—the composition of
               the ballot, which is the last thing the voter sees before he
               makes his choice—and does so in a way that is not neutral
               as to issues or candidates.

  Id. The candidates were free to advertise their positions on term limits “with

  speech of their own,” the concurrence explained, “[b]ut the State itself may not

  skew the ballot listings in this way without violating the First Amendment.” Id.

        Analogously, county clerks in New Jersey inject themselves into the election

  process at the ballot composition stage in a biased and prejudicial manner. The

  clerks amplify the county committees’ ideologically motivated candidate

  endorsements through ballot composition choices and preferential draws. 5


  5
    To be clear, the parties’ ability to denote candidate endorsements on ballots,
  through slogans or otherwise, is not at issue here; at issue is the state’s ability to
  confer ballot advantages that typically correspond with party endorsements. These
  advantages would be unconstitutional even if they were entirely divorced from
  party endorsements, as they would still reflect the government’s improper role in
  skewing the ballot to favor certain candidates, thus distorting the electoral
  marketplace of ideas. Plaintiffs’ experts have demonstrated that candidates derive
  “a specific benefit from being on the county line that is separate from party
  endorsement.” See Ver. Compl., Exh. D, Expert Report by Dr. Samuel S.-H.
  Wang, at 13. The county line confers an average additional seventeen


                                            12
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 18 of 23 PageID: 1163




  Candidates favored by the committees receive advantageous ballot placement,

  while disfavored candidates are sent to “ballot Siberia”—treatment akin to a

  derogatory label. Indeed, Plaintiffs’ experts show that “the magnitude of the biases

  we observe . . . amounts to an enormous handicap in favor of candidates who are

  featured on the county line.” See Ver. Compl., Exh. B, Expert Report by Dr. Josh

  Pasek, at 79.

        Primary elections should measure the electorate’s needs, priorities, and

  values. Voters assert those needs, priorities, and values through candidate

  selection. In New Jersey, because of the state’s ballot design procedures, primary

  elections measure party preferences above all, and voters’ needs, priorities, and

  values are effectively censored. The state thus privileges the viewpoints of some

  voters and demeans the viewpoints of others. Importantly, all voters are denied the

  chance to express their political attitudes in a neutral forum, free from government

  interference and influence.

        This viewpoint-based discrimination, effectuated through ballot design

  procedures, cannot withstand strict scrutiny. Generalized arguments that the

  procedures promote election integrity and clarity are belied by direct evidence that




  percentage points over party endorsement alone for nonincumbent candidates.
  Id. at 12.

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Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 19 of 23 PageID: 1164




  they do the opposite. To be sure, the ballot design procedures are not narrowly

  tailored to serve those ends. The county line offends the First Amendment.

        B.   County clerks in New Jersey, through primary ballot design
             procedures, violate the neutrality principle and unconstitutionally
             burden the right to vote.
        When the state steps outside the bounds of the First Amendment and uses its

  administrative apparatus to influence primary election outcomes, it debases the

  right to vote in two ways: (1) by limiting voters’ right to freely choose for whom to

  vote and (2) by diminishing the power of a voter’s primary ballot.

        “It is beyond cavil that ‘voting is of the most fundamental significance under

  our constitutional structure.’” Burdick v. Takushi, 504 U.S. 428, 433 (1992)

  (quoting Illinois Bd. of Elections v. Socialist Workers Party, 440 U.S. 173, 184

  (1979)). The judiciary is thus “obliged to train a skeptical eye on any qualification

  of that right.” Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 210 (2008).

        Yet “[n]o bright line separates permissible election-related regulation from

  unconstitutional infringements on First Amendment freedoms.” Timmons v. Twin

  Cities Area New Party, 520 U.S. 351, 359 (1997). Rather, under what has come to

  be known as the Anderson-Burdick balancing test, “the rigorousness of [a court’s]

  inquiry into the propriety of a state election law depends upon the extent to which a

  challenged regulation burdens” the plaintiff’s rights. Burdick, 504 U.S. at 434.

  Evaluating these alleged burdens, in turn, requires a “weighing” of several factors,



                                           14
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 20 of 23 PageID: 1165




  including: (1) the “character and magnitude” of the alleged constitutional injury;

  (2) “the precise interests put forward by the State as justifications for the burden

  imposed by its rule[;]” and (3) “the extent to which those interests make it

  necessary to burden the plaintiff's rights.” Anderson, 460 U.S. at 789.

        If, according to these factors, the challenged regulation imposes “‘severe’

  restrictions” on the plaintiff’s rights, then the law may be upheld as constitutional

  only if it is “narrowly drawn to advance a state interest of compelling

  importance.” Burdick, 504 U.S. at 434 (quoting Norman v. Reed, 502 U.S. 279,

  289 (1992)). In other words, strict scrutiny applies. However, if the challenged

  “provision imposes only ‘reasonable, nondiscriminatory restrictions’” upon the

  plaintiff’s rights, id. (quoting Anderson, 460 U.S. at 788), the state need only show

  that its “legitimate interests” in upholding the law “sufficient[ly] . . . outweigh” the

  burden imposed on the plaintiff. Id. at 440.

        Choice is foundational to the franchise right. “The right to vote freely for the

  candidate of one’s choice is of the essence of a democratic society, and any

  restrictions on that right strike at the heart of representative government.” Reynolds

  v. Sims, 377 U.S. 533, 555 (1964). Because “[a] fundamental goal of a democratic

  society is to attain the free and pure expression of the voters’ choice of

  candidates,” the government must “avoid any feature that might adulterate or,

  indeed, frustrate, that free and pure choice.” Gould v. Grubb, 14 Cal. 3d 661, 677


                                            15
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 21 of 23 PageID: 1166




  (1975). “In our governmental system, the voters’ selection must remain untainted

  by extraneous artificial advantages imposed by weighted procedures of the election

  process.” Id.

        The county line is an extraneous artificial advantage that significantly taints

  voters’ choice in primary elections. As Plaintiffs’ expert Dr. Samuel S.-H. Wang

  demonstrates in his report, when voters mark primary ballots structured around the

  county line, they are not exercising cognitive independence; rather, they are

  reacting to visual cues that drive their behavior and make their selections almost

  inevitable. See Ver. Compl., Exh. D, Expert Report by Dr. Samuel S.-H. Wang, at

  6-7. In other words, while enjoying the illusion of genuine choice, voters are

  actually reproducing choices already made by county committees and cemented by

  county clerks. Id. at 16 (concluding, “[b]ased on principles of neuroscience and

  statistical testing,” that “the physical arrangement of candidate names on the

  county line acts as a powerful force to steer voter behavior toward choices made by

  the county party chair.”).

        In addition to manipulating voter choice, the county line undermines the

  right to vote by weakening voters’ authority at the polls and sapping the ballot of

  its force and impact. The right to vote encompasses the right to influence the

  political process through electoral accountability. In this way, elections are not

  only contests, but also mandates. When county committees and government


                                            16
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 22 of 23 PageID: 1167




  officials have the power to manipulate outcomes, candidates learn to orient their

  allegiance to those actors, rather than to constituents. The state thus erodes the

  “responsiveness [that] is key to the very concept of self-governance through

  elected officials,” McCutcheon, 572 U.S. at 227.

         Politicians in New Jersey are keenly aware of the importance of the county

  line in securing their political futures—and of who controls it. Because of this

  dynamic, elected officials are primarily accountable to party insiders rather than

  constituents. See Ryan P. Haygood et al., The End of the Line: Abolishing New

  Jersey’s Antidemocratic Primary Ballot Design, 48 Seton Hall J. Legis. & Pub.

  Pol’y 4, 6 (2023). If an elected official does not campaign or govern as the county

  party desires, the candidate may lose the line and almost surely lose the primary as

  a result. This scheme’s ultimate effect is to rob voters of their power, relocating

  that power in the hands of county parties and clerks.

         In these two ways—by curtailing voter choice and shrinking voter power—

  the state, through its primary ballot design procedures, imposes a severe burden on

  the right to vote that none of the state’s interests suffice to justify.




                                              17
Case 3:24-cv-01098-ZNQ-TJB Document 78-1 Filed 03/12/24 Page 23 of 23 PageID: 1168




                                   CONCLUSION
        For the forgoing reasons, amicus curiae urges the Court to grant Plaintiffs’

  motion for a preliminary injunction.



   Dated: March 12, 2024                 Respectfully submitted,

                                         /s/ Liza Weisberg
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                                          18
